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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
CLERK                                                         600 S. MAESTRI PLACE,
                                                                      Suite 115
                                                             NEW ORLEANS, LA 70130

                             April 20, 2023


Ms. Megan Heuberger Berge
Baker Botts, L.L.P.
700 K Street, N.W.
Washington, DC 20001-0000

Mrs. Maureen Noonan Harbourt
Kean Miller, L.L.P.
P.O. Box 3513
Suite 700
Baton Rouge, LA 70821

      No. 23-60069      State of Texas v. EPA
                        Agency No. 88 Fed. Reg. 9336-9384


Dear Ms. Berge, Mrs. Harbourt,
We have filed the certified list. PETITIONER’S BRIEF AND EXCERPTS
ARE DUE WITHIN 40 DAYS FROM THE DATE ABOVE for Petitioners
Louisiana Chemical Association, Louisiana Electric Utility
Environmental Group, L.L.C., Louisiana Mid-Continent Oil and Gas
Association and Texas Lehigh Cement Company, LP. See Fed. R. App.
P. and 5th Cir. R. 28, 30 and 31. Except in the most extraordinary
circumstances, the maximum extension for filing briefs is 40 days
in agency cases. See also 5th Cir. R. 30.1.2 and 5th Cir. R. 31.1
to determine if you have to file electronic copies of the brief
and record excerpts, and the Portable Document Format (PDF) you
MUST use. See also 5th Cir. R. 30.1 for the contents of the Record
Excerpts which are filed instead of an appendix. You may access
our   briefing   checklist   on  the   Fifth   Circuit’s   website
"http://www.ca5.uscourts.gov/docs/
default-source/forms-and-documents---clerks-office/rules/
brchecklist.pdf". An intervenor’s time is governed by 5th Cir. R.
31.2.   5th Cir. R. 42.3.2 allows the clerk to dismiss appeals
without notice if the brief is not filed on time.
The caption for this appeal is attached, and we ask you to use it
on any briefs filed with this court.
Because this case is proceeding on a certified list of documents
instead of the record, see 5th Cir. R. 30.2. Petitioner must obtain
a copy of the portions of the record relied upon by the parties in
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their briefs, and file them within 21 days from the date of filing
of respondent’s brief, with suitable covers, numbering and
indexing.
Brief Template: The clerk’s office offers brief templates and the
ability to check the brief for potential deficiencies prior to
docketing to assist in the preparation of the brief. To access
these options, log in to CM/ECF and from the Utilities menu, select
‘Brief Template’ (Counsel Only) or ‘PDF Check Document’.
Reminder as to Sealing Documents on Appeal: Our court has a strong
presumption of public access to our court’s records, and the court
scrutinizes any request by a party to seal pleadings, record
excerpts, or other documents on our court docket. Counsel moving
to seal matters must explain in particularity the necessity for
sealing in our court. Counsel do not satisfy this burden by simply
stating that the originating court sealed the matter, as the
circumstances that justified sealing in the originating court may
have changed or may not apply in an appellate proceeding. It is
the obligation of counsel to justify a request to file under seal,
just as it is their obligation to notify the court whenever sealing
is no longer necessary.     An unopposed motion to seal does not
obviate a counsel’s obligation to justify the motion to seal.


                                Sincerely,
                                LYLE W. CAYCE, Clerk


                                By: _________________________
                                Majella A. Sutton, Deputy Clerk
                                504-310-7680
Enclosure(s)
cc w/encl:
     Mr. Michael Abrams
     Mr. David R. Baake
     Mrs. Jill Carter Clark
     Mr. William Francis Cole
     Mr. Bill L. Davis
     Mr. Bradley Aaron Ennis
     Mr. Merrick Garland, U.S. Attorney General
     Mr. Philip Stephen Gidiere III
     Ms. Machelle Rae Lee Hall
     Ms. Debra Jezouit
     Mr. Todd Sunhwae Kim
     Mr. Matthew Lynn Kuryla
     Ms. Jin Hyung Lee
     Mr. Justin Lee Matheny
     Mr. Joseph N. Mazzara
     Mr. Shae Gary McPhee Jr.
     Mr. Carl Grady Moore III
     Ms. Elizabeth Baker Murrill
     Mr. Jeffrey Prieto
     Mr. Joseph Scott St. John
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Mr. Aaron Michael Streett
Ms. Susan Scaggs Stutts
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                          Case No. 23-60069




State of Texas; Texas Commission on Environmental Quality;
Luminant Generation Company, L.L.C.; Coleto Creek Power, L.L.C.;
Ennis Power Company, L.L.C.; Hays Energy, L.L.C.; Midlothian
Energy, L.L.C.; Oak Grove Management Company, L.L.C.; Wise
County Power Company, L.L.C.; Association of Electric Companies
of Texas; BCCA Appeal Group; Texas Chemical Council; Texas Oil &
Gas Association; Public Utility Commission of Texas; Railroad
Commission of Texas; State of Mississippi; Mississippi
Department of Environmental Quality; Mississippi Power Company;
State of Louisiana; Louisiana Department of Environmental
Quality; Entergy Louisiana, L.L.C.; Louisiana Chemical
Association; Mid-Continent Oil and Gas Association; Louisiana
Electric Utility Environmental Group, L.L.C.; Texas Lehigh
Cement Company, LP,
                      Petitioners
v.
United States Environmental Protection Agency; Michael S. Regan,
Administrator, United States Environmental Protection Agency,
                      Respondents
